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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
         Plaintiff,                                   )
                                                      )
  vs.                                                 ) Case No.: 4:16-cr-258 CEJ (NAB)
                                                      )
  ALDEN DICKERMAN,                                    )
                                                      )
         Defendant.                                   )

        DEFENDANT’S MOTION TO SUPPRESS EVIDENCE AND STATEMENTS
              AND INCORPORATED MEMORANDUM IN SUPPORT

         COMES NOW Defendant, Alden Dickerman, by and through counsel, aggrieved by

  an unlawful search and seizure made by the St. Louis County Police Department, and moves

  this Court to suppress any and all evidence and other items seized, test results concerning

  items seized, testimony or statements made about any of the foregoing, and any testimony

  regarding any observations made of Defendant’s person while Defendant was under arrest or

  in custody that is intended to be used against him.

         The grounds for Defendant’s motion are as follows:

         1.      That said articles which the Government intends to use against Defendant

  were obtained pursuant to unlawful searches and seizures by the St. Louis County Police

  Department.

         2.      The searches were not conducted pursuant to warrants supported by probable

  cause, and they were not justified by valid consent or other lawful justification.

         3.      The searches and seizures of Defendant’s personal belongings, including but

  not limited to Defendant’s Asus laptop (model AR5B95) and the hard drive contained

  therein, constituted illegal searches under the Fourth Amendment and violated Defendant’s

  Constitutional privacy rights.



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         4.         All contents, including but not limited to all pictures and videos, that were

  found by way of the unlawful search and seizure of Defendant’s laptop and hard drive were

  the poisonous fruit of said unlawful search and seizure as well as other violations of

  Defendant’s Constitutional rights.

         5.         Said search and seizure thus violated Defendant's rights under Article I,

  Sections 10, 15 and 18(a) of the Missouri Constitution, and the Fourth, Fifth, Sixth and

  Fourteenth Amendments to the United States Constitution.

               MEMORANDUM IN SUPPORT OF MOTION TO SUPPRESS

        I.          Statement of Facts

         Defendant is charged with a single violation of 18 U.S.C. § 2252A(a)(5)(B). On

  August 18, 2015, Detective Michael Slaughter (“Detective Slaughter”) presented an

  application and affidavit for search warrant to search Defendant’s residence for evidence of

  child pornography. See Exhibit A. In his affidavit, Detective Slaughter stated that he had

  received information from Special Investigator Wayne Becker (“SI Becker”) related to child

  pornography. Id. at ¶ 4. Detective Slaughter stated that SI Becker had begun an undercover

  operation in September 2011 “collecting keys and files being shared on a ‘Freenet,’ a

  publicly available peer to peer network, in order to build a data base [sic] of keys associated

  with known or suspected child pornography images and videos.” Id. Additionally, “Freenet is

  a distributed, Internet based, peer-to-peer network which lets a user anonymously share files

  and chat on forums.” Id. at ¶ 12. “Communications between computers running Freenet, or

  nodes, are encrypted and routed through other Freenet nodes making it difficult to determine

  who is requesting the information and what the content is of the information being

  requested.” Id.

         Additionally, SI Becker “began running copies of Freenet that had been modified for

  law enforcement to log the IP address, key, and date and time of requests that were sent to


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  these law enforcement Freenet nodes,” and “[t]hese keys are then compared to keys of

  known child pornography.” Id. at ¶ 5. Detective Slaughter then stated that SI Becker

  “observed IP address 172.12.235.62 routing and/or requesting suspected child pornography

  file blocks” and that “[t]he number and timing of the requests was significant enough to

  indicate that the IP address was the apparent original requester of the file.” Id. at ¶ 6

  (emphasis added). Detective Slaughter’s affidavit further asserted that the IP address

  172.12.235.62 was linked to the address of Defendant’s residence. Id. at ¶¶ 9-10. The warrant

  to search Defendant’s residence for evidence of child pornography was issued and executed

  on August 18, 2015. See Exhibit A. On August 21, 2015, SI Becker began reviewing contents

  from Defendant’s Asus laptop and the hard drive stored therein. Id.

       II.       Principles of Law and Argument

         Although reviewing courts give “great deference” to a magistrate’s determination of

  probable cause, “[d]eference to the magistrate . . . is not boundless.” United States v. Leon,

  468 U.S. 897, 914 (1984). A reviewing court must first inquire “into the knowing or reckless

  falsity of the affidavit on which that determination was based.” Id., citing Franks, 438 U.S.

  154. “Second, the courts must also insist that the magistrate purport to ‘perform his neutral

  and detached function and not serve merely as a rubber stamp for the police.’” Id., quoting

  Aguilar v. Texas, 378 U.S. 108, 111 (1964); see also Illinois v. Gates, 462 U.S. 213, 239

  (1983). “Third, reviewing courts will not defer to a warrant based on an affidavit that does

  not ‘provide the magistrate with a substantial basis for determining the existence of probable

  cause.’” Leon, 468 U.S. at 915, quoting Gates, 462 U.S. at 239; see also United States v.

  McArthur, No. 4:07CR651-DJS, 2008 WL 481993, at *5 (E.D. Mo. Feb. 19, 2008), aff'd, 573

  F.3d 608 (8th Cir. 2009).




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             A. The August 18, 2015 Search Warrant Was Issued as a Result of False and
                Misleading Statements and Omissions Pertaining to Freenet and
                Defendant’s Laptop’s IP Address’ Connection Therewith, the Search
                Warrant Was Not Issued Upon Probable Cause and the Subsequent
                Search and Seizure Were Unlawful

         The general rule for challenging the veracity of a sworn statement used by police to

  procure a search warrant under the rule set forth in Franks provides the following:

         [W]here the defendant makes a substantial preliminary showing that a false
         statement knowingly and intentionally, or with reckless disregard for the truth,
         was included by the affiant in the warrant affidavit, and if the allegedly false
         statement is necessary to the finding of probable cause, the Fourth
         Amendment requires that a hearing be held at the defendant's request. In the
         event that at that hearing the allegation of perjury or reckless disregard is
         established by the defendant by a preponderance of the evidence, and, with the
         affidavit's false material set to one side, the affidavit's remaining content is
         insufficient to establish probable cause, the search warrant must be voided and
         the fruits of the search excluded to the same extent as if probable cause was
         lacking on the face of the affidavit.

  Franks v. Delaware, 438 U.S. 154, 155-56 (1978). In the Franks context, “[t]o mandate an

  evidentiary hearing, the challenger's attack must be more than conclusory and must be

  supported by more than a mere desire to cross-examine.” Id. at 171. “There must be

  allegations of deliberate falsehood or of reckless disregard for the truth, and those allegations

  must be accompanied by an offer of proof.” Id. “They should point out specifically the

  portion of the warrant affidavit that is claimed to be false; and they should be accompanied

  by a statement of supporting reasons.” Id. “Affidavits or sworn or otherwise reliable

  statements of witnesses should be furnished, or their absence satisfactorily explained.” Id.

         A Franks claim can also be based on omissions of fact, where a defendant succeeds in

  proving “first that facts were omitted with the intent to make, or in reckless disregard of

  whether they make, the affidavit misleading, and, second, that the affidavit, if supplemented

  by the omitted information, could not support a finding of probable cause.” United States v.

  Allen, 297 F.3d 790, 795 (8th Cir. 2002), citing United States v. Reinholz, 245 F.3d 765, 774

  (8th Cir. 2001). Here, Detective Slaughter’s affidavit, relied upon for the issuance of the


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  August 18, 2015 search warrant, was inherently misleading and contained false statements,

  either knowingly and intentionally or with reckless disregard for the truth, as prohibited by

  Franks. In particular, Detective Slaughter’s conclusory statement that “[t]he number and

  timing of the requests was significant enough to indicate that the IP address was the apparent

  original requester of the file” constitutes a bad faith misrepresentation of the findings

  apparent from SI Becker’s undercover operation. Ex. A; see Ex. B, Aff. of Steve Dougherty.

  The number and timing of requests could have not been properly deemed significant enough

  to indicate that the IP address associated with Defendant’s laptop was the apparent original

  requester of the file without taking additional steps to verify that the pattern observed was not

  the result of a bad connection close to the apparent requestor or other factors.

         As noted in Mr. Dougherty’s affidavit, there are a number of reasons that could

  account for the “number and timing of the requests” from this particular IP address without

  suggesting that this IP address originated the requests. Ex. B at ¶¶ 14-18. Law enforcement

  failed to appropriately rule out these other reasons before concluding that this IP address

  originated the requests. Worse, law enforcement represented to the magistrate that the only

  explanation for the number and timing of these requests originating from this IP address is

  that the IP address was initiating the requests for these file blocks that contained suspected

  child pornography.

         Additionally, Detective Slaughter’s affidavit omitted relevant discussion regarding the

  behavior of Freenet’s routing in estimating the probability that received requests originated

  from the peer they were received from (instead of forwarded from elsewhere) based in part

  on how many requests were received. Detective Slaughter’s affidavit also omitted any

  discussion about the potential for false positives that might have resulted from SI Becker’s

  undercover operation. Such omissions are inherently misleading because false positives are




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  likely to occur when investigating Freenet since it is, by nature, a complex and anonymous

  file sharing resource. See Ex. B, Aff. of Steve Dougherty.

         The purpose of these false statements and omissions was to overstate and

  misrepresent the likelihood that Defendant’s IP address had originally requested files

  containing child pornography to persuade the magistrate to issue the August 18, 2015 search

  warrant. Without the false statements and omissions, the affidavit could not have established

  probable cause, as the allegation that the number and timing of requests was “significant

  enough” was central and fundamental to the affidavit’s conclusion as to the existence of

  probable cause. Franks holds that a Defendant is entitled to an evidentiary hearing if: (1) he

  makes a “substantial preliminary showing that a false statement knowingly and intentionally,

  or with reckless disregard for the truth, was included by the affiant in the warrant affidavit”;

  and (2) the allegedly false statement is necessary to the finding of probable cause. Franks,

  438 U.S. at 155. Because the false statements here were necessary to the finding of probable

  cause, Defendant should be granted an evidentiary hearing under Franks and the evidence

  seized as a result of this search warrant should be suppressed.

             B. The Judge Issuing the August 18, 2015 Search Warrant Lacked the
                Technological Expertise to Determine Probable Cause Based on the
                Contents of the Affidavit, and Abdicated His Role as a Neutral and
                Detached Magistrate

         In the search warrant context, the Supreme Court has held that “an issuing magistrate

  must meet two tests.” Shadwick v. City of Tampa, 407 U.S. 345, 350 (1972). “He must be

  neutral and detached, and he must be capable of determining whether probable cause exists

  for the requested arrest or search.” Id. (emphasis added). “The primary reason for the warrant

  requirement is to interpose a ‘neutral and detached magistrate’ between the citizen and ‘the

  officer engaged in the often competitive enterprise of ferreting out crime.’” United States v.

  Karo, 468 U.S. 705, 717 (1984), quoting Johnson v. United States, 333 U.S. 10, 14 (1948).



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            Although reviewing courts give “great deference” to a magistrate’s determination of

  probable cause, “[d]eference to the magistrate . . . is not boundless.” United States v. Leon,

  468 U.S. 897, 914 (1984). Reviewing courts “must… insist that the magistrate purport to

  ‘perform his neutral and detached function and not serve merely as a rubber stamp for the

  police.’” Id., quoting Aguilar v. Texas, 378 U.S. 108, 111 (1964); see also Illinois v. Gates,

  462 U.S. 213, 239 (1983). “The task of the issuing magistrate is simply to make a practical,

  common-sense decision whether, given all the circumstances set forth in the affidavit before

  him . . . there is a fair probability that contraband or evidence of a crime will be found in a

  particular place.” Gates, 462 U.S. at 238.

            In reviewing a search warrant affidavit, the judge, not law enforcement, is the proper

  party to draw inferences and conclusions from the facts. “The essential protection of the

  warrant requirement of the Fourth Amendment . . . is in ‘requiring that [the usual inferences

  which reasonable men draw from evidence] be drawn by a neutral and detached magistrate

  instead of being judged by the officer engaged in the often competitive enterprise of ferreting

  out crime.’” Gates, 462 U.S. at 240, quoting Johnson v. United States, 333 U.S. 10, 13-14

  (1948).

            Here, due to the complexity and technical nature of the determination with which

  Judge Borbonus was tasked in this case and his apparent lack of training in topics related to

  Freenet and complex computer networking, he was not in a position to test the factual basis

  of the affidavit (which itself was fatally conclusory, as discussed in the following section)

  and the inferences made in the affidavit, and could not have fulfilled the neutral and detached

  role of a reviewing magistrate. Instead, his approval served as a rubber stamp for police that

  compromised the line between Defendant as a citizen and officers engaged in the competitive

  enterprise of ferreting out crime. As a result, Defendant’s Constitutional rights were violated




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  by the issuance of the search warrant, and the evidence searched and seized during the

  execution of the search warrant should be suppressed.

     C. August 18, 2015 Search Warrant Affidavit Relied Substantially on Conclusory
        Statements and Failed to Give the Issuing Magistrate a Substantial Basis for His
        Determining of Probable Cause

         Under Leon, “reviewing courts will not defer to a warrant based on an affidavit that

  does not ‘provide the magistrate with a substantial basis for determining the existence of

  probable cause.’” Leon, 468 U.S. at 915, quoting Gates, 462 U.S. at 239; see also United

  States v. McArthur, No. 4:07CR651-DJS, 2008 WL 481993, at *5 (E.D. Mo. Feb. 19, 2008),

  aff'd, 573 F.3d 608 (8th Cir. 2009). “Sufficient information must be presented to the

  magistrate to allow that official to determine probable cause; his action cannot be a mere

  ratification of the bare conclusions of others.” Gates, 462 U.S. at 239 (emphasis added); see

  also United States v. Farlee, 910 F. Supp. 2d 1174, 1184 (D.S.D. Dec. 7, 2012) (“The Gates

  Supreme Court decision guides the determination of when an affidavit is too conclusory to

  support issuance of a warrant.”). “Conclusory statements made by affiants fail to give the

  issuing magistrate a substantial basis for determining that probable cause exists.” United

  States v. Summage, 481 F.3d 1075, 1077-78 (8th Cir. 2007), citing United States v. Caswell,

  436 F.3d 894, 897-98 (8th Cir. 2006). For one thing, “there must be evidence of a nexus

  between the contraband and the place to be searched before a warrant may properly issue”

  United States v. Tellez, 217 F.3d 547, 550 (8th Cir.2000), citing United States v. Koelling,

  992 F.2d 817, 823 (8th Cir. 1993). “The task of the issuing magistrate is simply to make a

  practical, common-sense decision whether, given all the circumstances set forth in the

  affidavit before him . . . there is a fair probability that contraband or evidence of a crime will

  be found in a particular place.” Gates, 462 U.S. at 238; see also United States v. Wallace, 550

  F.3d 729, 732 (8th Cir. 2008). Reliance on conclusory statements in a law enforcement




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  affidavit violates the principle that the judge, not law enforcement, is the proper party to draw

  inferences and conclusions from the facts. See Gates, 462 U.S. at 240.

         Here, the warrant affidavit failed to provide the magistrate with a substantial basis for

  determining the existence of probable cause, given the magistrate’s position and apparent

  unfamiliarity with Freenet, the technical and complicated nature of the matters alleged in the

  affidavit, and the improperly conclusory nature of the statements connected with Freenet

  provided in the affidavit. Thus, the magistrate was unable to act in a properly neutral and

  detached manner, and instead served as a rubber stamp for police by approving the search

  warrant on the basis of conclusory statements and based on facts which the magistrate did not

  have the expertise required to understand, had they been provided to him.

         In his affidavit, Detective Slaughter stated that SI Becker “observed IP address

  172.12.235.62 routing and/or requesting suspected child pornography file blocks.” Ex. A at ¶

  6. Detective Slaughter alleged that “[t]he number and timing of the requests was significant

  enough to indicate that the IP address was the apparent original requester of the file,” but

  provided no factual support for this conclusion nor recitation of the facts relied upon to allow

  the magistrate—or anyone else—to test this inference of “significance” Id. (emphasis added).

  These statements were not only misleading and false (as discussed in Section II (A)), but

  were, moreover, entirely conclusory. The magistrate’s apparent lack of sufficient technical

  expertise or experience with Freenet would have only compounded the problem inherent in

  the affidavits—that they fail to provide any usable information as to what facts, if any, drove

  law enforcement’s conclusion of “significance” that would allow the judge to evaluate the

  validity of the conclusion. See, e.g., Farlee, 910 F. Supp. 2d at 1185 (“[T]here is nothing in

  the affidavits for the warrants from which the tribal judge could infer how the tribal police

  came to identify Farlee as that suspect, other than the terse and conclusory statement that the

  “investigation revealed.” . . . The affidavits contained no information about what


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  investigation occurred to identify a suspect.”). Because the magistrate’s finding of probable

  cause necessarily relied on the affidavit’s conclusory statements on the central issue upon

  which probable cause turned, suppression of the evidence seized in this case is required.

      III.       Conclusion

         WHEREFORE, Defendant Alden Dickerman respectfully requests this Court issue an

  order excluding all of the above-state evidence from trial, and for all other relief to which

  Defendant is entitled.


                                                Respectfully submitted,

                                                ROSENBLUM, SCHWARTZ, ROGERS & GLASS, PC

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 24, 2016, the foregoing was electronically filed with
  the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
  Ms. Colleen C. Lang, assistant United States attorney.




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